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                                                              April 28, 2021

Via Email and ECF
The Honorable Pamela K. Chen
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re: United States v. Brendan Hunt, 21-cr-0086-PKC
Your Honor:

       We write seeking two minor amendments to the Court’s Proposed Charge:

       Page 19, first paragraph, we seek the following addition in bold:

       But evidence, or lack of evidence, that Defendant made plans, efforts, or had the means and
       know-how to follow through on the alleged threats may inform your view of the
       circumstances in which he made the statements and the effect he intended the statements
       themselves to have.

        On the Verdict Form, we request that the Court change the term “threat” to “true threat” to be
consistent with the substantive instructions and the law.

       Thank You for Your consideration.



                                                              Respectfully Submitted,
                                                                      /s/
                                                              Jan A. Rostal
                                                              Leticia M. Olivera


cc: Counsel of Record
